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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                    GENESIS RUIZ, et al.                               )
                                                                       )
                     (see attached rider)                              )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 24-cv-1969
                                                                       )
 FADMO HEALTH AND HOMECARE AGENCY INC.                                 )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) FADMO HEALTH AND HOMECARE AGENCY INC.
                                           194 Targee Street
                                           Staten Island, New York 10304




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: EISNER DICTOR & LAMADRID, P.C.
                                           39 Broadway, Suite 1540
                                           New York, NY 10006




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                                  CLERK OF COURT


Date:    03/18/2024
                                                                                            Signature of Clerk or Depu
                                                                                                                  Deputy Clerk
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                              Rider to Summons


Names of Plaintiffs:


GENESIS RUIZ, NOHEMY ARRIOLA, ODILIA ARRIOLA, MELANIA BATIZ, MARLA
BERNARDEZ LACAYO, IRSA CASTILLO, CATALINA COLON, LESLY CRISANTO
RAMOS, YASMIN GARCIA, JOSELINE MARTINEZ, CELESTINA MEJIA, MIRTHA
MEJIA, BERTHA MELENDEZ, BLANCA YOLANDA MINCHALA ROCHEZ, CLAUDIA
MIRANDA ROCHEZ, JUANA PALACIOS NORALES, and EVANE RAMOS.
